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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
TRIBUNE COMPANY, et al., ) Case No. 08-13141(KJC)
) (Jointly Administered)
Debtors. )
)

MEDIATOR’S SECOND REPORT

The Court appointed Judge Kevin Gross to serve as the Mediator (the “Mediator’”) in this
case by Order, dated September 1, 2010 (D.I. 5591). The Mediation took place on September 26,
2010, and the parties continued settlement discussions on September 27, 2010, with the Mediator
continuing to meet with some parties. The Mediation continued vigorously thereafter with certain
parties based on the Mediator’s judgment of how best to reach settlement. The Settlement expands
beyond the settlement reported in the Mediator’s Report, dated September 28, 2010 (D.I. 5831). The
Mediation has now resulted in the settlement agreement between and among the Debtors, the Official
Committee of Unsecured Creditors, Oaktree Capital Management, L.P., Angelo, Gordon & Co., L.P.,
and JP Morgan Chase Bank, N.A. (the “Settling Group”). The Settling Group reached agreement
on a plan of reorganization that will settle certain claims surrounding both “Step 1" and “Step 2” of
the Debtors’ 2007 going private transaction. The terms of the settlement are contained in the Term
Sheet, a copy of which is attached hereto as Exhibit A.

The Mediator does not consider the Mediation to be closed and will continue to seek to

include additional parties.

Dated: October 12, 2010

Mediator

Kevin Gros

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